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6

7                       UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
8
                             RIVERSIDE DIVISION
9
     ROGIE ANICETO,               ) Case No.:
10
                                  )
11             Plaintiff,         )
                                  )
12              – vs –            ) PLAINTIFF’S COMPLAINT AND
13
                                  ) DEMAND FOR JURY TRIAL
     DELTA OUTSOURCE GROUP, INC., )
14                                )
              Defendant.          )
15
                                  )
16

17
           NOW COMES Plaintiff, ROGIE ANICETO (“Plaintiff”), through his
18
     attorneys, hereby alleges the following against Defendant, DELTA OUTSOURCE
19

20
     GROUP, INC. (“Defendant”):

21                                 Nature of the Action
22
        1. This action is brought by Plaintiff pursuant to the Fair Debt Collection
23
           Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”); and
24

25      2. The Rosenthal Fair Debt Collection Practices Act, Cal. Civ. Code § 1788 et


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                                   PLAINTIFF’S COMPLAINT
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           seq. (RFDCPA).
1

2                                          Parties
3
       3. Plaintiff is a natural person residing, in San Bernardino County, in the City
4
           of Rancho Cucamonga, in the State of California and is otherwise sui juris.
5

6
       4. Plaintiff is allegedly obligated to pay a debt and is a consumer as defined by

7          15 U.S.C. § 1692a(3).
8
       5. Defendant is a Corporation conducting business in the State of California
9
           and has its principal place of business in O’Fallon, Missouri.
10

11     6. Defendant is a debt collector as defined by 15 U.S.C. § 1692a(6) and sought

12         to collect a consumer debt from Plaintiff.
13
       7. Defendant acted though its agents, employees, officers, members, directors,
14
           heirs, successors, assigns, principals, trustees, sureties, subrogees,
15

16         representatives and insurers.
17                                 Jurisdiction and Venue
18
        8. Defendant conducts business in the State of California and therefore
19
           personal jurisdiction is established.
20

21      9. Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which

22
           states that such actions may be brought and heard before “any appropriate
23
           United States District Court without regard to the amount in controversy.”
24

25
        10. Venue is proper in the United States District Court Central District of


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                                    PLAINTIFF’S COMPLAINT
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           California pursuant to 28 U.S.C § 1391(b) because a substantial part of the
1

2          events or omissions giving rise to the herein claims occurred within this
3
           District.
4
                                    Factual Allegations
5

6
        11. On or around September 30, 2020, Defendant placed a collection call to

7          Plaintiff seeking and demanding payment for an alleged consumer debt.
8
        12. Plaintiff’s alleged debt arises from transactions for personal, family, and
9
           household purposes.
10

11      13. Defendant called Plaintiff’s telephone number at (909) 560-68XX.

12      14. On or around September 30, 2020, Defendant left a voicemail message on
13
           Plaintiff’s answering machine.
14
        15. In the voicemail message, Defendant failed to meaningfully disclose the
15

16         company’s name or the nature of the call or state that the call was from a
17         debt collector.
18
        16. In the voicemail message, Defendant directed Plaintiff to call back
19
           telephone number (888) 515-7394 and ask for “Debbie Peak”, which is a
20

21         number that belongs to Defendant.
22
        17. In the voicemail message, Defendant failed to disclose the purpose of its
23
           call was to collect a debt allegedly owed by Plaintiff.
24

25


                                             -3-

                                    PLAINTIFF’S COMPLAINT
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        18. Defendant is using false, deceptive and misleading means in connection
1

2          with attempting to collect a debt by not identifying the purpose of its phone
3
           calls or that they are an attempt to collect a debt.
4
                                FIRST CAUSE OF ACTION
5

6
          DEFENDANT VIOLATED THE FDCPA 15 U.S.C. § 1692 et seq.

7       19. Plaintiff repeats and incorporates by reference into this cause of action the

8
           allegations set forth above at Paragraphs 1-18.
9
        20. Defendant’s violations of the FDCPA include, but are not limited to, the
10

11         following:

12        a. Defendant violated §1692(d) of the FDCPA by engaging in conduct of
13
             which the natural result is the abuse and harassment of the Plaintiff;
14
          b. Defendant violated §1692(d)(6) of the FDCPA by failing to
15

16           meaningfully disclose its identity;
17        c. Defendant violated §1692(e) of the FDCPA by any other false,
18
             deceptive, or misleading representation or means in connection with the
19
             debt collection; and
20

21        d. Defendant violated §1692(e)(11) of the FDCPA by failing to contain the
22
             warning: This is an attempt to collect a debt… communication is from a
23
             debt collector.
24

25
                               SECOND CAUSE OF ACTION


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                                    PLAINTIFF’S COMPLAINT
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      DEFENDANT VIOLATED THE RFDCPA CA. CIV. CODE § 1788 et seq.
1

2       21. Plaintiff repeats and incorporates by reference into this cause of action the

3
           allegations set forth above at Paragraphs 1-20.
4
        22. Defendant’s violations of the RFDCPA include, but are not limited to, the
5

6
           following:

7         a. Defendant violated §1788.17 by failing to comply with the statutory
8
             regulations contained within the FDCPA, 15 U.S.C. § 1692 et seq.
9
                                 PRAYER FOR RELIEF
10

11      WHEREFORE, Plaintiff prays that judgment be entered against Defendant

12         for the following:
13
                                FIRST CAUSE OF ACTION
14
        23. Statutory damages of $1000.00 pursuant to 15 U.S.C. § 1692k;
15

16      24. Reasonable attorneys’ fees, costs pursuant to 15 U.S.C. § 1692k; and

17      25. Awarding such other and further relief as may be just, proper and equitable.
18
                                SECOND CAUSE OF ACTION
19
        26. Declaratory judgment that Defendant’s conduct violated the Rosenthal Fair
20

21         Debt Collection Practices Act;
22
        27. Statutory damages of $1000.00 pursuant to Cal. Civ. Code §1788.30(b);
23
        28. Reasonable attorney’s fees, costs pursuant to the Rosenthal Fair Debt
24

25
           Collection Practices Act, Cal. Civ. Code § 1788.30(c); and


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                                    PLAINTIFF’S COMPLAINT
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        29. Actual damages and compensatory damages according to proof at time of
1

2          trial.
3
                                 JURY TRIAL DEMAND
4
        30. Plaintiff demands a jury trial on all issues so triable.
5

6

7                                             RESPECTFULLY SUBMITTED,
8

9       Dated: February 11, 2021              By: /s/Jeremy E. Branch
                                              Jeremy E. Branch (SBN: 303240)
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                                     PLAINTIFF’S COMPLAINT
